               Case 5:14-cr-00079-OLG Document 109 Filed 09/22/17 Page 1 of 6
                                                                                                                FILED
                                        UNITED STATES DISTRICT COURT
                                                                                                                   SEP 2 2        2017
                                                  WESTERN DISTRICT OF TEXAS
                                                    SAN ANTONIO DIVISION                                CLERK US. OISTpicT COURT
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UNITED STATES OF AMERICA                                                                                                  DEPU       CLj
                                                                             Case Number: 5:1 4-CR-00079-OLG
V.                                                                           USM Number: 32264-3 80

MACK COLE,
True Name: Mack Cole, Jr.
Alias(es): Mack J Cole,

         Defendant.

                                            JUDGMENT IN A CRIMINAL CASE
                                     (For Offenses Committed On or After November 1, 1987)

         The defendant, MACK COLE, was represented by Jack Carter, Esq.

         Pursuant to the order granting the defendant's motion, the Government abandoned count(s) Five (5) and Six (6) at sentencing.

         The defendant was found guilty of the offense charged in Count(s) One (1), Two (2), Three (3) and Four (4) of the
Superseding Indictment on June 14, 2017. Accordingly, the defendant is adjudged guilty of such Count(s), involving the following
offense(s):


      Title & Section                            Nature of Offense                Offense Ended                           Count

       18 USC § 1347                             Health Care Fraud                September 13, 2012                        1-4

         As pronounced on September 21, 2017, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
circumstances.
                       22nd
         Signed this          day of September, 2017.




                                                                                   Chief United States District Judge
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DEFENDANT:                 MACK COLE
CASE NUMBER:               5:14-CR-00079-OLG(1)

                                                          IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of
twenty-seven (27) months on each of Counts One (1), Two (2), Three (3) and Four (4) to run concurrent with credit for time served
while in custody for this federal offense pursuant to 18 U.S.C. § 3585(b).

         The Court makes the following recommendations to the Bureau of Prisons:

         That the defendant be incarcerated in a federal facility to accommodate the defendant's medical needs.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons at or before
2:00 PM when notified to report by the United States Pretrial Services. However, the defendant shall not be required to report
prior to December 16,2017.




                                                               ft1IJ1iI
I have executed this judgment as follows:




        Defendant delivered on                                       to

at                                          with a certified copy of this judgment.



                                                                                         UNITED STATES MARSHAL




                                                                                                   By
                                                                                      DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                MACK COLE
CASE NUMBER:              5: 14-CR-00079-OLG(1)


                                                  SUPERVISED RELEASE

         Upon release from imprisomnent, the defendant shall be on supervised release a term of three (3) years on each of Count(s)
One (1), Two (2), Three (3) and Four (4) to run concurrent.

         While on supervised release the defendant shall comply with the mandatory and standard conditions that have been adopted
by this Court, and shall comply with the following additional conditions:

        1. The defendant shall provide the probation officer with access to any requested financial information and authorize the
        release of any financial information. The probation office may share financial information with the U.S. Attorney's Office.

        2. The defendant shall participate in a mental health treatment program and follow the rules and regulations of that program.
        The probation officer, in consultation with the treatment provider, shall supervise participation in the program (provider,
        location, modality, duration, intensity, etc.). The defendant shall pay the costs of such treatment if financially able.
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DEFENDANT:                     MACK COLE
CASE NUMBER:                   5:14-CR-00079-.OLG(1)

                                                     CONDITIONS OF SUPERVISION
Mandatory Conditions:

     1.   The defendant shall not commit another federal, state, or local crime during the term of supervision.

    2. The defendant shall not unlawfully possess a controlled substance.

    3. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
       within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by
       the court), but the condition stated in this paragraph may be ameliorated or suspended by the court if the defendant's
           presentence report or other reliable sentencing information indicates low risk of future substance abuse by the defendant.

    4. The defendant shall cooperate in the collection of DNA as instructed by the probation officer, if the collection of such a
        sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

    5.    If applicable, the defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42
           U.S.C. § 16901, et. seq.) as instructed by the probation officer, the Bureau of Prisons, or any state sex offender registration
           agency in which the defendant resides, works, is a student, or was convicted of a qualifying offense.

    6.    If convicted of a domestic violence crime as defined in   18 U.S.C. § 3561(b), the defendant shall participate in an approved
           program for domestic violence.

    7.    If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pays in accordance with the
           Schedule of Payments sheet of the judgment.

    8.    The defendant shall pay the assessment imposed in accordance with 18 U.S.C. § 3013.

    9.    The defendant shall notify the court of any material change in the defendant's economic circumstances that might affect the
           defendant's ability to pay restitution, fines or special assessments.


Standard Conditions:

    1) The defendant shall     report to the probation office in the federal judicial district where he or she is authorized to reside within
          seventy-two (72) hours of release from imprisonment, unless the probation officer instructs the defendant to report to a
          different probation office or within a different time frame.

    2) After initially report to the probation office, the defendant will receive instructions from the court or the probation officer
       about how and when to report to the probation officer, and the defendant shall report to the probation officer as instructed.

    3) The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside without first
       getting permission from the court or the probation officer.

    4) The defendant shall answer truthfully the questions asked by the probation officer.

    5) The defendant shall live at a place approved by the probation officer. If the defendant plans to change where he or she lives
       or anything about his or her living arrangements (such as the people the defendant lives with), the defendant shall notify the
       probation officer at least ten (10) days before the change. If notifying the probation officer in advance is not possible due to
          unanticipated circumstances, the defendant shall notify the probation officer within seventy-two (72) hours of becoming
          aware of a change or expected change.

    6) The defendant shall allow the probation officer to visit the defendant at any time at his or her home or elsewhere, and the
       defendant shall permit the probation officer to take any items prohibited by the conditions of the defendant's supervision that
          are observed in plain view.
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      7) The defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
         excuses the defendant from doing so. If the defendant does not have full-time employment, he or she shall try to fmd full-
         time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where
         the defendant works or anything about his or her work (such as the position or job responsibilities), the defendant shall notify
         the probation officer at least ten (10) days before the change. If notifying the probation officer at least ten (10) days in
         advance is not possible due to unanticipated circumstances, the defendant shall notify the probation officer within seventy-
         two (72) hours of becoming aware of a change or expected change.

      8) The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal activity.
                                                                                                                         If the
         defendant knows someone has been convicted of a felony, the defendant shall not knowingly communicate or interact with
         that person without first getting the permission of the probation officer.

      9) If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the probation officer within
         seventy-two (72) hours.

      10) The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
         anything that was designed, or was modified, for the specific purpose of causing bodily injury or death to another person such
         as nunchakus or tasers).

      11) The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human source or
         informant without first getting the permission of the court.

      12) If the probation officer determines that the defendant poses a risk to another person (including an organization), the probation
         officer may require the defendant to notify the person about the risk and the defendant shall comply with that instruction.
         The probation officer may contact the person and confirm that the defendant has notified the person about the risk.

      13) The defendant shall follow the instructions      of the probation officer related to the conditions of supervision.

      14) If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pays such
          penalties in accordance with the Schedule of Payments sheet of the judgment.

      15) If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
         supervision that the defendant shall provide the probation officer access to any requested financial information.

      16) If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
         supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of
         the probation officer, unless the defendant is in compliance with the payment schedule.

     17) If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision
         shall be a non-reporting term of probation or supervised release. The defendant shall not illegally re-enter the United States.
         If the defendant is released from confinement or not deported, or lawfully re-enters the United States during the term of
         probation or supervised release, the defendant shall immediately report to the nearest U.S. Probation Officer.
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       DEFENDANT:                           MACK COLE
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                                                    CRIMINAL MONETARY PENALTIES/SCHEDULE
                The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
       forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
       penalties is due during the period of imprisonment. Criminal Monetary Penalties, except those payments made through Federal Bureau
       of Prisons' Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 655 E. Cesar E.
       Chavez Blvd, Room G65, San Antonio, TX 78206. The defendant shall receive credit for all payments previously made toward any
       criminal monetary penalties imposed.

                                                                                  Assessment                                                Fine                                  Restitution
      TOTALS                                                                         $400.00                                                 $.00                                 $434,594.45

                                                                                 SPECIAL ASSESSMENT

                       It is ordered that the defendant shall pay to the United States a special assessment of $400.00, which represents
      $100.00 per count. Payment of this sum shall begin immediately.

                                                                                                FINE

                   The fine is waived because of the defendant's inability to pay.




               The defendant shall pay restitution in the amount of $434,594.45 through the Clerk, U.S. District Court, for distribution to the
      payee(s). Payment of this sum shall begin immediately.

               The Court directs the United States Probation Office to provide personal identifier information of victims by submitting a
      "reference list" under seal Pursuant to E-Government Act of 2002" to the District Clerk within ten (10) days after the criminal
      Judgment has been entered.

      Name of Payee                                                                                                                  Amount of Restitution
                  Veterans Benefits Administration                                                                                              $375,055.85
                  U.S. Department of Veterans Affairs


                  Veterans Health Administration                                                                                                $ 59,538. 60
                  U.S. Department of Treasury

                  TOTAL                                                                                                                         $434,594.45




           If the defendant makes a partial payment, each payee shatl receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the united States is paid.

            If the fine is not paid, the court may sentence the defendant to any sentencewhich might have been originally imposed. See 18 u.s.c. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 u.s.c. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

              Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters 1 09A, 110,       11 OA,   and 11 3A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
